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                                                                                                  FILED
                                                                                                  CLERK
 UNITED STATES DISTRICT COURT
                                                                                      10:58 am, Sep 06, 2023
 EASTERN DISTRICT OF NEW YORK
                                                                                         U.S. DISTRICT COURT
                                                                                    EASTERN DISTRICT OF NEW YORK
                                                                                         LONG ISLAND OFFICE
  SUPPLEMENT MANUFACTURING                                   Case No. 2:23-cv-06585
  PARTNER, INC. d/b/a SMP NUTRA,

                 Plaintiff,
                                                             TEMPORARY RESTRAINING
          -against-                                          ORDER AND ORDER TO
                                                             SHOW CAUSE
  WILLIAM CARTWRIGHT,

                 Defendant.



         This matter having come before the Court upon the application of Plaintiff, Supplement

 Manufacturing Partner (“SMP Nutra” or “Plaintiff”), for a temporary restraining order,

 Plaintiff’s Memorandum of Law in Support of Plaintiff’s Motion for a Temporary Restraining

 Order and/or Preliminary Injunction dated September 5, 2023, the Declarations of Steven

 Milano, Joseph Imperio, Dave Borst, and Rachel Ann Stephens, and Plaintiff’s Complaint:

         WHEREUPON THE COURT, having considered the matter, finds that:

         (1)    Plaintiff has suffered, is suffering and will continue to suffer irreparable

 harm;

         (2)    Plaintiff has a likelihood of success on the merits;

         (3)    The balance of the hardships favors Plaintiff; and

         (4)    Relief is necessary to prevent further harm to Plaintiff and to preserve evidence

 and/or other information that is relevant to the relief requested herein;

         (5)    Defendant’s violations will continue unless a temporary restraining order is issued; and

         (6)    The public benefits from the restoration of the status quo ante.



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         THEREFORE, IT IS HEREBY ORDERED that pending a hearing and determination on

 Plaintiff’s application for preliminary injunction Defendant, his agents, officers, and employees,

 and all other persons and entities in active concert or participation with him:

            (a) Grant access to Plaintiff the <smpnutra.com> Office Exchange 365 account, the

            <smpnutra.com> domain name, the <smpnutra.com> website, and makes available

            all passwords for SMP Nutra accounts including, but not limited to, the HubSpot

            account; and

            (b) Restore and/or transfer exclusive control over all of the items in section (a)

            above to Plaintiff.

         IT IS FURTHER ORDERED that pending a hearing and determination on Plaintiff’s

 application for preliminary injunction Defendant, his agents, officers, and employees, and all

 other persons and entities in active concert or participation with him, are temporarily restrained

 from:

            (a) Accessing, searching, disclosing, copying, or otherwise converting Plaintiff’s

                electronic files during the pendency of this action.

            (b) Engaging in any activity that uses Plaintiff’s proprietary data, including but not

                limited to customer lists, vendor lists, and pricing models.

            (c) Denying Plaintiff access to the <smpnutra.com> Office Exchange 365 email

                accounts, the <smpnutra.com> domain name, the <smpnutra.com> website, and

                Plaintiff’s Hubspot account.

            (d) Destroying, deleting, altering, or otherwise modifying data in the

                <smpnutra.com> Office Exchange 365 account, the <smpnutra.com> domain

                name, the <smpnutra.com> website, and Plaintiff’s Hubspot account and taking




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                any action that would impede or prevent Defendant from complying with any

                subsequent order of the Court requiring the transfer from Defendant to Plaintiff

                the administrator rights to the <smpnutra.com> Office Exchange 365 account

                and the <smpnutra.com> domain.

             (e) Destroying, deleting altering, or otherwise modifying all historical emails, data,

                and audit logs that belong to Plaintiff, including those through the

                <smpnutra.com> Office Exchange 365 account. Defendant shall take all action to

                preserve such audit logs.

          IT IS FURTHER ORDERED that the parties may take expedited discovery to address

 all issues relevant to the application for a preliminary injunction.

          IT IS FURTHER ORDERED that, sufficient reason having been shown therefore,

 pending the hearing of Plaintiff application for a preliminary injunction, pursuant to Federal

 Rule of Civil Procedure 65 or in the alternative an injunction pursuant to 18 U.S.C. §

 2707(b)(1), the Defendant be temporarily restrained and enjoined in accordance with paragraphs

 above.

            IT IS HEREBY FURTHER ORDERED that Defendant shall appear before this Court

                   and the Honorable Joan M. Azrack, United States District Judge,via telephone,


 on the 7th day of September, 2023, at 10:00 a.m. to show cause why a preliminary injunction

 should not be granted.


          IT IS FURTHER ORDER that a copy of this Temporary Restraining Order and Order to

 Show Cause, together with the Complaint, the Memorandum of Law in Support, the Milano




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 Declaration, the Imperio Declaration, and the Borst Declaration, shall be served upon

 Defendant, on or before the 6th day of September, 2023.



 SO ORDERED this 6th day of September, 2023.



 ______/s/ (JMA)___________________________

 Hon. Joan M. Azrack
 United States District Judge
 Eastern District of New York




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